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                                    UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,

v.                                                                                   Case No. 09-20187

RODERICK WILSON and
SABRINA THOMPSON,

                     Defendants.
                                                                             /

                   ORDER SUSPENDING DATES AND SETTING CONFERENCE

          On July 14, 2009, the above captioned matter was reassigned to the court as a

companion case to case number 06-20411. (7/14/09 Order.) As a result, the dates

previously set for a plea cut-off and trial may need to be altered. Accordingly,

          IT IS ORDERED that the dates previously set in the “Trial Notice” [Dkt. #16] are

SUSPENDED.

          IT IS FURTHER ORDERED that counsel for Defendants attend a scheduling

conference on July 28th, 2009 at 10:00 a.m.

                                                                  s/Robert H. Cleland
                                                                 ROBERT H. CLELAND
                                                                 UNITED STATES DISTRICT JUDGE

Dated: July 20, 2009

I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, July 20, 2009, by electronic and/or ordinary mail.

                                                                  s/Lisa Wagner
                                                                 Case Manager and Deputy Clerk
                                                                 (313) 234-5522

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